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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEEQ§JU§!B AH{U:3|
WESTERN DIVISION

 
 
  

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“MP-HFIY mwv;,
MILDRED MINNIS' et al-r ) 4..Lm.HB

Plaintiffs,
V.

No. 04-2056 Ma/P

CITY OF MEMPHIS, et al.,

\_/~_d\_r~_r`_d~_d~_/\_¢`_d

Defendants.

 

ORDER DISMISSING COMPLAINT WITHOUT PREJUDICE AS TO THE CITY AND
THE COUNTY DEFENDANTS

 

Before the court is the motion to dismiss filed by defendants
Shelby County, Shelby County Assessor and Shelby County Trustee
(collectively the “County Defendants”) on January 21, 2005. Also
before the court is defendant City of Memphis' (the “City”) motion
to dismiss, filed on January 27, 2005, in which the City adopts the
“arguments and defenses” raised by the County Defendants. The named
plaintiffs Mildred Minnis and Aracia Parker (the “Plaintiffs”)
filed a response on April 29, 2005. The County Defendants filed a
reply brief on May ll, 2005. The City filed a reply brief on May
26, 2005, in which the City adopted the arguments in the County
Defendants' reply brief. For the following reasons, the County
Defendants’ and the City's motions to dismiss are GRANTED, and the

Plaintiff$' CaSe iS DISMISSED WITHOUT PREJUDICE as to them.

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I. Jurisdiction

The Plaintiffs' Complaint is brought under the Fair Housing
Act of 1968, as amended, 42 U.S.C. § 3601, et §§g;, and the Civil
Rights Act of 1866, 42 U.S.C. § 1982. (Compl. at “ l.) Because this
case arises under federal law, the court has jurisdiction under 28
U.S.C. § 1331.
II. Background

On January 29, 2004, the Plaintiffs filed a “Class Action
Complaint For Declaratory Judgment and Permanent Injunctive Relief”
on. behalf of themselves and as representatives of a class of
similarly situated individuals. The Plaintiffs named as defendants
the City of Memphis, Shelby County, the Memphis Housing Authority,
Memphis Light, Gas & Water, the Shelby County Assessor, the Shelby
County' Trustee, and the State of Tennessee (collectively' the
“Defendants”).l The Plaintiffs’ Complaint alleges that the
Defendants’ actions have violated the Fair Housing Act of 1968, as
amended, 42 U.S.C. § 3601, et seg*, and the Civil Rights Act of
1366, 42 U.s.c. § 1982. (compl. at q 1.)

The Plaintiffs’ Complaint “arises out of the failure of
Defendants to provide affordable rental housing for low~income
citizens of Shelby County.” (Id.) The Plaintiffs bring the

Complaint on behalf of “a class of similarly situated low income

 

1Memphis Light, Gas & Water and the State of Tennessee are no longer
defendants. Although court records indicate that the Memphis Housing Authority
and the City share legal counsel, the Memphis Housing Authority did not file a
motion to dismiss.

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citizens in Shelby County who sought, or may in the future seek,
affordable rental housing. . . .” (Id. at H 2.)

The Complaint describes findings by the Tennessee Legislature
and the City of Memphis that there is a lack of quality affordable
housing in Tennessee, and particularly in Memphis. (Id. at TI 3,
4.) The Complaint alleges that the failure of the Defendants to act
on those findings “[denies] low income citizens decent, clean,
liveable, affordable rental housing [and] endangers the health,
safety, and welfare of such citizens.” (Id. at “ 5.)

Paragraphs 16 and 17 of the Complaint use statistics about the
income of residents of Memphis and about the availability and
condition of rental housing in Shelby County to show that finding
safe and affordable rental housing is a serious problem for many
citizens of Shelby County. The Plaintiffs allege that the
Defendants have failed to solve this problem while spending money
on “non-housing concerns and infrastructure improvements in
suburban areas.” (Id. at I 18.)

The Complaint seeks certification of a class consisting “of
all low income residents who have attempted to find decent
affordable rental housing or will in the future need affordable
housing in Memphis and Shelby COunty.” (Id. at T 20.) Although the
Complaint states that both Minnis and Parker are black, (Id. at IT
9, lO.), the description of the class that the named plaintiffs

seek to represent does not mention race. (Id. at II 19-25.)

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The Plaintiffs do not allege that the Defendants have
intentionally discriminated against them.because of race. Race only
appears in the Complaint in j 28, where the Plaintiffs allege that
the Defendants' actions have resulted in “a city further segregated
by race and income with no commitment or strategy to remedy the
[problem.]”

The Plaintiffs seek the following relief:

2. Grant temporary, preliminary, and permanent injunctive
relief restraining and enjoining Defendants, their
employees, assignees, successors, and agents from
continuing to disregard their statutory duties, including
but not limited to:

a) produce verified inventory or [sic] vacant lots,
dilapidated housing stock, and tax sales in order
for properties to be redeveloped or developed;

b) provide a mechanism for the organized exchange
of information between governmental bodies to
document affordable housing needs, and. make the
data base readily accessible to the public;

c) enforce existing anti-neglect ordinances and
make government-owned properties subject to these
ordinances;

d) adopt a new “Smart Code" (based on the federal
HUD models) that will make affordable housing less
expensive to construct; and make this “Smart Code”
preemptive to all other local and state codes

e) institute a “receivership program” where
distressed and dilapidated properties can be
seized, and sold to motivated owners for

redevelopment on a targeted basis.

f) provide a strategic plan to determine the
overall scope and nature of neighborhood blight and
the need for affordable rental housing with
specific deadlines for implementation.

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3. Grant a temporary, preliminary and permanent
injunction. restraining and enjoining Defendants from
taking further action to provide Tax Incremental
Financing in Shelby County until an affordable rental
housing plan is adopted and funded and enjoin the State
Defendants from implementing any new building codes until
a “Smart Code” is adopted for Shelby County.

(Id., Conclusion at jj 2, 3.)

III. Standard of Review For Dismissal Under Rule 12(b)(6)

“Under the liberal notice pleading rules, a complaint need
only put a party on notice of the claim being asserted against it
to satisfy the federal rule requirement of stating a claim upon
which relief oan.be granted.” Memphis, Tenn. Area Local, Am. Postal
workers' Union, AFL-CIO v. City of Memphis, 361 F.3d 898, 902 (6th
Cir. 2004). When considering a motion to dismiss for failure to
state a claim, the court regards all factual allegations in the
complaint as true. Scheid v. Fannv Farmer Candv Shops, Inc., 859
F.2d 434, 436 (6th Cir. 1988). Further, the court must construe the
complaint in the light most favorable to the plaintiffs.” Memphisl
Tenn. Area Local, Am. Postal Workers' Union, 361 F.3d at 902. If
the plaintiff can prove no set of facts that would entitle him to
relief based on a viable legal theory, the claim will be dismissed.
SCheid, 859 F.2d at 437.

“The Federal Rules of Civil Procedure do not require a

claimant to set out in detail all the facts upon which he bases his

claim.” Conley ‘v. Gibson, 355 U.S. 41, 47 (1957). “To avoid
dismissal under Rule 12(b)(6), a complaint must contain either

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direct or inferential allegations with respect to all material
elements of the claim.” Wittstock v. Mark a Van Sile, lnc., 330
F.3d 889, 902 (6th Cir. 2003) (emphasis added).
IV. Analysis

Plaintiffs seek to represent a class in an action for

violation of the Fair Housing Act of 1968, as amended, 42 U.S.C. §

3601, _; seg. (the “FHA”), and the Civil Rights Aot of 1866, 42
U.S.C. § 1982 (“§ 1982"). The class described in the Complaint

“consists of all low income residents who have attempted to find
decent affordable rental housing or will in the future need
affordable housing in Memphis and Shelby County.” (Compl. at j 20.)
The City and the County Defendants argue that the suit must be
dismissed because the FHA and § 1982 do not prohibit discrimination
based on income. (Def.'s Mem. in Supp. of Mot. to Dismiss at 12.}

To make out a claim under § 1982 a plaintiff must allege
racial discrimination. See, e.g., Shaare Tefila Conqregation v.
ggbb, 481 U.S. 615, 616 (1987) (“Section 1982 guarantees all
citizens of the United States, ‘the same right ... as is enjoyed by
white citizens ... to inherit, purchase, lease, sell, hold, and
convey' real and. personal property.’ The section forbids both
official and. private racially' discriminatory interference with
property rights.”) The FHA prohibits discrimination based on “race,
color, religion, sex, familial status, or national origin.” 42

U.S.C. § 3604(a). The Complaint brings claims under § 1982 and the

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FHA on behalf of a class of “low-income” plaintiffs. (Compl. at j
1 (“This complaint arises out of the failure of Defendants to
provide affordable rental housing for low-income citizens of Shelby
County.”).) Although the Complaint states that the named plaintiffs
are black, the class of people the Plaintiffs seek to represent is
described only as “low-income.” (Id. at j 20.) Thus, the Plaintiffs
have failed to state a claim under § 1982 or the FHA.

The Plaintiffs argue that they have stated claims for racial
discrimination under § 1982 and the FHA because the Complaint
alleges that the Defendants' actions have increased racial
segregation in Shelby County.2 (Pl.’s Resp. at 2.) The Plaintiffs’
argument misses the point. Irrespective of what effect the
Defendants' actions have had, the class of plaintiffs named in the

Complaint is not one recognized under § 1982 or the FHA.3

 

2 .
Paragraph 28 of the Complaint is the sole paragraph that mentions race:

Although the Defendants have identified the factors in the lack of
affordable housingr they have failed to apply for or provide funds
for new building codes, feasible rehabilitative building codes,
coordination of housing information, failed to enforce anti-neglect
ordinances and exempting public-owned buildings from these
ordinancesr failed to accurately define and maintain a control,
uniform database of the inventory of vacant lots or dilapidated
housing stock and tax sales for property to be developed and failed
to coordinate local, stater and federal funding in targeted areas
for affordable rental housing to be built. The result is a city
further segregated by race and income with no commitment or strategy
to remedy the identified components to provide affordable rental
housing.

(Compl. at j 28 (emphasis added).)

Additionally, the Complaint does not allege intentional racial
discrimination by the Defendants. A plaintiff may not bring a claim under § 1982
unless the plaintiff alleges that a defendant intentionally discriminated on the
basis of race. §§§ Thompson v. City of Hickman, 12 F.3d 214 (Table), 1993 WL
494117, at *3 (6th Cir. 1993); Carpenter v. Board of Allen Countv, Com'rs, 798

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Finally, the Plaintiffs attempt to correct the deficiency in
their Complaint by asking the Court's permission “to amend the
Complaint to add ‘black’ to wherever ‘low income resident’
appears.” (Pl.'s Resp. at 6.) Whether a pleading can be amended
after a response has been filed is in the court's discretion. §§§
Estes v. Kentuckv Utilities Co., 636 F.2d 1131, 1133 (6th Cir.
1980). The court declines to exercise its discretion and allow the
Plaintiffs to amend the Complaint in the manner they have proposed.
The Complaint is based on statistics and legislative findings that
low-income residents in Shelby County have difficulty obtaining
safe and affordable rental housing. The Complaint does not relate
income, race, and the availability of rental housing. Although the
amendment the Plaintiffs propose would create an appropriate class
of plaintiffs, it would also create in the Complaint an incoherent,
or at least inconsistent, collection of claims, factual
allegations, and requests for relief.

The Plaintiffs ask the court to find that portions of the
Shelby County tax codes and the Shelby' County' building codes
violate federal law. The Plaintiffs also ask the court to require
Shelby County and the City to implement a detailed plan designed to
create additional affordable rental housing. This relief would be
complicated, expensive, and extraordinary. The court expresses no

opinion about whether federal law provides for the relief sought,

 

F.Zd 1413 (Tab]_e), 1986 WL 17270, B.C *2 (6th Cir. 1986) .

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but all parties are owed a carefully constructed complaint. The
mechanical addition of the word “black” wherever the phrase “low-
income” appears in the Complaint would not change the fact that the
Complaint was originally drafted to seek relief under the FHA and
§ 1982 for a class of plaintiffs who are not entitled to relief
under those statutes.

In declining to allow the Plaintiffs to amend the Complaint,
the court has considered Fed. R. Civ. P. 15(a), which encourages
the courts to give leave to amend a pleading freely “when justice
so requires.” In this case, justice will be served best if the
action is dismissed without prejudice. The conduct that the
Plaintiffs allege violates federal law is ongoing. Consequently,
the Plaintiffs, should they choose to do so, may file a new
complaint without concern that their claims will be barred by any
statutes of limitations. If the Plaintiffs file a new complaint
framed to seek relief for a class of plaintiffs recognized under §
1982 and the FHA, the City and the County Defendants will be able
to respond to the substance of the complicated claims raised by the
Plaintiffs. This in turn will serve justice because it will assist
the court in determining whether, or to what extent, federal law
provides relief for the important housing problems that the

Plaintiffs have alleged in Shelby County.

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V. Conclusion
For the foregoing reasons, the court GRANTS the City and the
County Defendants’ motions to dismiss, and the Plaintiffs'

Complaint is DISMISSED WITHOUT PREJUDICE as to them.

az

So ordered this day of June 2005.

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SAMUEL H. MAYS, JR.
UNI'I`ED STA'I`ES DISTRICT JUDGE

 

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.1 une 16, 2005 to the parties listed.

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